J-S73002-16


NON-PRECEDENTIAL DECISION - SEE SUPERIOR COURT I.O.P. 65.37

COMMONWEALTH OF PENNSYLVANIA                     IN THE SUPERIOR COURT OF
                                                       PENNSYLVANIA


                    v.

FREDERICK DEMON DEAN

                         Appellant                   No. 1402 WDA 2015


          Appeal from the Judgment of Sentence August 17, 2015
               In the Court of Common Pleas of Erie County
           Criminal Division at No(s): CP-25-CR-0003379-2014


BEFORE: FORD ELLIOTT, P.J.E., LAZARUS, J. AND JENKINS, J.

CONCURRING STATEMENT BY JENKINS, J.:            FILED NOVEMBER 17, 2016

      I agree with the learned majority’s disposition of this appeal and its

determination that Appellant’s brief was inadequate. I write separately only

to clarify that, even if this Court deemed the scant reference to law on pages

seven and eight of his brief to be sufficient, Appellant’s issue is devoid of

merit.

      Appellant challenges the sufficiency of the evidence for his convictions,

particularly as it relates to his identity. When examining a challenge to the

sufficiency of evidence, our standard of review is as follows:

         The standard we apply in reviewing the sufficiency of the
         evidence is whether viewing all the evidence admitted at
         trial in the light most favorable to the verdict winner, there
         is sufficient evidence to enable the fact-finder to find every
         element of the crime beyond a reasonable doubt. In
         applying [the above] test, we may not weigh the evidence
         and substitute our judgment for the fact-finder. In
         addition, we note that the facts and circumstances
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           established by the Commonwealth need not preclude every
           possibility of innocence.      Any doubts regarding a
           defendant’s guilt may be resolved by the fact-finder unless
           the evidence is so weak and inconclusive that as a matter
           of law no probability of fact may be drawn from the
           combined circumstances. The Commonwealth may sustain
           its burden of proving every element of the crime beyond a
           reasonable doubt by means of wholly circumstantial
           evidence. Moreover, in applying the above test, the entire
           record must be evaluated and all evidence actually
           received must be considered. Finally, the [trier] of fact
           while passing upon the credibility of witnesses and the
           weight of the evidence produced, is free to believe all, part
           or none of the evidence.

Commonwealth v. Hansley, 24 A.3d 410, 416 (Pa.Super.2011), appeal

denied, 32 A.3d 1275 (Pa.2011) (quoting Commonwealth v. Jones, 874

A.2d 108, 120-21 (Pa.Super.2005)).

     Appellant     does   not   contest   that   the   Commonwealth   presented

evidence to support each of his convictions, he only contests that the

Commonwealth presented sufficient evidence of his identity because the

authorities did not conduct fingerprint or residue analysis on the gun or on

Appellant and the surveillance footage did not positively show him shooting

the gun.

     As the majority notes, the surveillance footage corroborated police

officers’ testimony that Appellant was the perpetrator of the crimes he

committed.      Viewing this evidence in the light most favorable to the

Commonwealth, there is sufficient evidence to enable the jury to find,

beyond a reasonable doubt, that Appellant committed the crimes for which

he was convicted.

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      Even if we chose to resolve Appellant’s issue on the merits, it would

provide him no relief. Thus, I respectfully concur.

      Judge Lazarus joins this Concurring Statement.




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